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                                                                             Exhibit 9
      Allied Security Operations Group
                            Antrim Michigan Forensics Report
                       REVISED PRELIMINARY SUMMARY, v2
                                 Report Date 12/13/2020


 Client:      Bill Bailey

 Attorney:    Matthew DePerno

 A.    WHO WE ARE

 1.    My name is Russell James Ramsland, Jr., and I am a resident of Dallas County,
       Texas. I hold an MBA from Harvard University, and a political science degree
       from Duke University. I have worked with the National Aeronautics and Space
       Administration (NASA) and the Massachusetts Institute of Technology (MIT),
       among other organizations, and have run businesses all over the world, many of
       which are highly technical in nature. I have served on technical government
       panels.

 2.    I am part of the management team of Allied Security Operations Group, LLC,
       (ASOG). ASOG is a group of globally engaged professionals who come from
       various disciplines to include Department of Defense, Secret Service,
       Department of Homeland Security, and the Central Intelligence Agency. It
       provides a range of security services, but has a particular emphasis on
       cybersecurity, open source investigation and penetration testing of networks. We
       employ a wide variety of cyber and cyber forensic analysts. We have patents
       pending in a variety of applications from novel network security applications to
       SCADA (Supervisory Control and Data Acquisition) protection and safe browsing
       solutions for the dark and deep web. For this report, I have relied on these
       experts and resources.

 B.    PURPOSE AND PRELIMINARY CONCLUSIONS

 1.    The purpose of this forensic audit is to test the integrity of Dominion Voting
       System in how it performed in Antrim County, Michigan for the 2020 election.

 2.    We conclude that the Dominion Voting System is intentionally and purposefully
       designed with inherent errors to create systemic fraud and influence election
       results. The system intentionally generates an enormously high number of ballot
       errors. The electronic ballots are then transferred for adjudication. The intentional
       errors lead to bulk adjudication of ballots with no oversight, no transparency, and
       no audit trail. This leads to voter or election fraud. Based on our study, we
       conclude that The Dominion Voting System should not be used in Michigan. We
       further conclude that the results of Antrim County should not have been certified.


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 3.      The following is a breakdown of the votes tabulated for the 2020 election in
         Antrim County, showing different dates for the tabulation of the same votes.

                                                                                  TOTAL
                             Total
             Registered                                       Third               VOTES
      Date                   Votes      Biden        Trump              Write-In
               Voters                                         Party                 for
                             Cast
                                                                                 President

   Nov 3       22,082       16,047       7,769       4,509     145         14        12,423

   Nov 5       22,082       18,059       7,289       9,783     255         20        17,327

  Nov 21       22,082       16,044       5,960       9,748     241         23        15,949

 4.      The Antrim County Clerk and Secretary of State Jocelyn Benson have stated that
         the election night error (detailed above by the vote "flip" from Trump to Biden,
         was the result of human error caused by the failure to update the Mancelona
         Township tabulator prior to election night for a down ballot race. We disagree and
         conclude that the vote flip occurred because of machine error built into the voting
         software designed to create error.

 5.      Secretary of State Jocelyn Benson's statement on November 6, 2020 that "[t]the
         correct results always were and continue to be reflected on the tabulator totals
         tape . . . ." was false.

 6.      The allowable election error rate established by the Federal Election Commission
         guidelines is of 1 in 250,000 ballots (.0008%). We observed an error rate of
         68.05%. This demonstrated a significant and fatal error in security and election
         integrity.

 7.      The results of the Antrim County 2020 election are not certifiable. This is a result
         of machine and/or software error, not human error.

 8.      The tabulation log for the forensic examination of the server for Antrim County
         from December 6, 2020consists of 15,676 individual events, of which 10,667 or
         68.05% of the events were recorded errors. These errors resulted in overall
         tabulation errors or ballots being sent to adjudication. This high error rates proves
         the Dominion Voting System is flawed and does not meet state or federal
         election laws.

 9.      These errors occurred after The Antrim County Clerk provided a re-provisioned
         CF card with uploaded software for the Central Lake Precinct on November 6,
         2020. This means the statement by Secretary Benson was false. The Dominion
         Voting System produced systemic errors and high error rates both prior to the
         update and after the update; meaning the update (or lack of update) is not the
         cause of errors.



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 10.   In Central Lake Township there were 1,222 ballots reversed out of 1,491 total
       ballots cast, resulting in an 81.96% rejection rate. All reversed ballots are sent to
       adjudication for a decision by election personnel.

 11.   It is critical to understand that the Dominion system classifies ballots into two
       categories, 1) normal ballots and 2) adjudicated ballots. Ballots sent to
       adjudication can be altered by administrators, and adjudication files can be
       moved between different Results Tally and Reporting (RTR) terminals with no
       audit trail of which administrator actually adjudicates (i.e. votes) the ballot batch.
       This demonstrated a significant and fatal error in security and election integrity
       because it provides no meaningful observation of the adjudication process or
       audit trail of which administrator actually adjudicated the ballots.

 12.   A staggering number of votes required adjudication. This was a 2020 issue not
       seen in previous election cycles still stored on the server. This is caused by
       intentional errors in the system. The intentional errors lead to bulk adjudication of
       ballots with no oversight, no transparency or audit trail. Our examination of the
       server logs indicates that this high error rate was incongruent with patterns from
       previous years. The statement attributing these issues to human error is not
       consistent with the forensic evaluation, which points more correctly to systemic
       machine and/or software errors. The systemic errors are intentionally designed to
       create errors in order to push a high volume of ballots to bulk adjudication.

 13.   The linked video demonstrates how to cheat at adjudication:

       https://mobile.twitter.com/KanekoaTheGreat/status/1336888454538428418

 14.   Antrim County failed to properly update its system. A purposeful lack of providing
       basic computer security updates in the system software and hardware
       demonstrates incompetence, gross negligence, bad faith, and/or willful non-
       compliance in providing the fundamental system security required by federal and
       state law. There is no way this election management system could have passed
       tests or have been legally certified to conduct the 2020 elections in Michigan
       under the current laws. According to the National Conference of State
       Legislatures – Michigan requires full compliance with federal standards as
       determined by a federally accredited voting system laboratory.

 15.   Significantly, the computer system shows vote adjudication logs for prior years;
       but all adjudication log entries for the 2020 election cycle are missing. The
       adjudication process is the simplest way to manually manipulate votes. The lack
       of records prevents any form of audit accountability, and their conspicuous
       absence is extremely suspicious since the files exist for previous years using the
       same software. Removal of these files violates state law and prevents a
       meaningful audit, even if the Secretary wanted to conduct an audit. We must
       conclude that the 2020 election cycle records have been manually removed.




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 16.   Likewise, all server security logs prior to 11:03 pm on November 4, 2020 are
       missing. This means that all security logs for the day after the election, on
       election day, and prior to election day are gone. Security logs are very important
       to an audit trail, forensics, and for detecting advanced persistent threats and
       outside attacks, especially on systems with outdated system files. These logs
       would contain domain controls, authentication failures, error codes, times users
       logged on and off, network connections to file servers between file accesses,
       internet connections, times, and data transfers. Other server logs before
       November 4, 2020 are present; therefore, there is no reasonable explanation for
       the security logs to be missing.

 17.   On November 21, 2020, an unauthorized user unsuccessfully attempted to zero
       out election results. This demonstrates additional tampering with data.

 18.   The Election Event Designer Log shows that Dominion ImageCast Precinct
       Cards were programmed with new ballot programming on 10/23/2020 and then
       again after the election on 11/05/2020. These system changes affect how ballots
       are read and tabulated, and our examination demonstrated a significant change
       in voter results using the two different programs. In accordance with the Help
       America Vote Act, this violates the 90-day Safe Harbor Period which prohibits
       changes to election systems, registries, hardware/software updates without
       undergoing re-certification. According to the National Conference of State
       Legislatures – Michigan requires full compliance with federal standards as
       determined by a federally accredited voting system laboratory.

 19.   The only reason to change software after the election would be to obfuscate
       evidence of fraud and/or to correct program errors that would de-certify the
       election. Our findings show that the Central Lake Township tabulator tape totals
       were significantly altered by utilizing two different program versions (10/23/2020
       and 11/05/2020), both of which were software changes during an election which
       violates election law, and not just human error associated with the Dominion
       Election Management System. This is clear evidence of software generated
       movement of votes. The claims made on the Office of the Secretary of State
       website are false.

 20.   The Dominion ImageCast Precinct (ICP) machines have the ability to be
       connected to the internet (see Image 11). By connecting a network scanner to
       the ethernet port on the ICP machine and creating Packet Capture logs from the
       machines we examined show the ability to connect to the network, Application
       Programming Interface (API) (a data exchange between two different systems)
       calls and web (http) connections to the Election Management System server.
       Best practice is to disable the network interface card to avoid connection to the
       internet. This demonstrated a significant and fatal error in security and election
       integrity. Because certain files have been deleted, we have not yet found origin
       or destination; but our research continues.




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 21.   Because the intentional high error rate generates large numbers of ballots to be
       adjudicated by election personnel, we must deduce that bulk adjudication
       occurred. However, because files and adjudication logs are missing, we have not
       yet determined where the bulk adjudication occurred or who was responsible for
       it. Our research continues.

 22.   Research is ongoing. However, based on the preliminary results, we conclude
       that the errors are so significant that they call into question the integrity and
       legitimacy of the results in the Antrim County 2020 election to the point that the
       results are not certifiable. Because the same machines and software are used in
       48 other counties in Michigan, this casts doubt on the integrity of the entire
       election in the state of Michigan.

 23.   DNI Responsibilities: President Obama signed Executive Order on National
       Critical Infrastructure on 6 January 2017, stating in Section 1. Cybersecurity of
       Federal Networks, "The Executive Branch operates its information technology
       (IT) on behalf of the American people. The President will hold heads of executive
       departments and agencies (agency heads) accountable for managing
       cybersecurity risk to their enterprises. In addition, because risk management
       decisions made by agency heads can affect the risk to the executive branch as a
       whole, and to national security, it is also the policy of the United States to
       manage cybersecurity risk as an executive branch enterprise." President
       Obama's EO further stated, effective immediately, each agency head shall use
       The Framework for Improving Critical Infrastructure Cybersecurity (the
       Framework) developed by the National Institute of Standards and Technology."
       Support to Critical Infrastructure at Greatest Risk. The Secretary of Homeland
       Security, in coordination with the Secretary of Defense, the Attorney General, the
       Director of National Intelligence, the Director of the Federal Bureau of
       Investigation, the heads of appropriate sector-specific agencies, as defined in
       Presidential Policy Directive 21 of February 12, 2013 (Critical Infrastructure
       Security and Resilience) (sector-specific agencies), and all other appropriate
       agency heads, as identified by the Secretary of Homeland Security, shall: (i)
       identify authorities and capabilities that agencies could employ to support the
       cybersecurity efforts of critical infrastructure entities identified pursuant to section
       9 of Executive Order 13636 of February 12, 2013 (Improving Critical
       Infrastructure Cybersecurity), to be at greatest risk of attacks that could
       reasonably result in catastrophic regional or national effects on public health or
       safety, economic security, or national security (section 9 entities);

       This is a national security imperative. In July 2018, President Trump
       strengthened President Obama’s Executive Order to include requirements
       to ensure US election systems, processes, and its people were not
       manipulated by foreign meddling, either through electronic or systemic
       manipulation, social media, or physical changes made in hardware,
       software, or supporting systems. The 2018 Executive Order. Accordingly, I
       hereby order:



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       Section 1. (a) Not later than 45 days after the conclusion of a United States
       election, the Director of National Intelligence, in consultation with the heads of
       any other appropriate executive departments and agencies (agencies), shall
       conduct an assessment of any information indicating that a foreign government,
       or any person acting as an agent of or on behalf of a foreign government, has
       acted with the intent or purpose of interfering in that election. The assessment
       shall identify, to the maximum extent ascertainable, the nature of any foreign
       interference and any methods employed to execute it, the persons involved, and
       the foreign government or governments that authorized, directed, sponsored, or
       supported it. The Director of National Intelligence shall deliver this assessment
       and appropriate supporting information to the President, the Secretary of State,
       the Secretary of the Treasury, the Secretary of Defense, the Attorney General,
       and the Secretary of Homeland Security.

       We recommend that an independent group should be empaneled to determine
       the extent of the adjudication errors throughout the State of Michigan. This is a
       national security issue.

 24.   Michigan resident Gustavo Delfino, a former professor of mathematics in
       Venezuela and alumni of University of Michigan, offered a compelling affidavit
       [Exhibit 2] recognizing the inherent vulnerabilities in the SmartMatic electronic
       voting machines (software which was since incorporated into Dominion Voting
       Systems) during the 2004 national referendum in Venezuela (see attached
       declaration). After 4 years of research and 3 years of undergoing intensive peer
       review, Professor Delfino’s paper was published in the highly respected
       "Statistical Science" journal, November 2011 issue (Volume 26, Number 4) with
       title "Analysis of the 2004 Venezuela Referendum: The Official Results Versus
       the Petition Signatures." The intensive study used multiple mathematical
       approaches to ascertain the voting results found in the 2004 Venezuelan
       referendum. Delfino and his research partners discovered not only the algorithm
       used to manipulate the results, but also the precise location in the election
       processing sequence where vulnerability in machine processing would provide
       such an opportunity. According to Prof Delfino, the magnitude of the difference
       between the official and the true result in Venezuela estimated at 1,370,000
       votes. Our investigation into the error rates and results of the Antrim County
       voting tally reflect the same tactics, which have also been reported in other
       Michigan counties as well. This demonstrates a national security issue.

 C.    PROCESS

       We visited Antrim County twice: November 27, 2020 and December 6, 2020.

       On November 27, 2020, we visited Central Lake Township, Star Township, and
       Mancelona Township. We examined the Dominion Voting Systems tabulators
       and tabulator roles.




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       On December 6, 2020, we visited the Antrim County Clerk's office. We inspected
       and performed forensic duplication of the following:

       1.    Antrim County Election Management Server running Dominion
             Democracy Suite 5.5.3-002;

       2.    Compact Flash cards used by the local precincts in their Dominion
             ImageCast Precinct;

       3.    USB memory sticks used by the Dominion VAT (Voter Assist
             Terminals); and

       4.    USB memory sticks used for the Poll Book.

       Dominion voting system is a Canadian owned company with global subsidiaries.
       It is owned by Staple Street Capital which is in turn owned by UBS Securities
       LLC, of which 3 out of their 7 board members are Chinese nationals. The
       Dominion software is licensed from Smartmatic which is a Venezuelan owned
       and controlled company. Dominion Server locations have been determined to be
       in Serbia, Canada, the US, Spain and Germany.

 D.    CENTRAL LAKE TOWNSHIP

 1.    On November 27, 2020, part of our forensics team visited the Central Lake
       Township in Michigan to inspect the Dominion ImageCast Precint for possible
       hardware issues on behalf of a local lawsuit filed by Michigan attorney Matthew
       DePerno on behalf of William Bailey. In our conversations with the clerk of
       Central Lake Township Ms. Judith L. Kosloski, she presented to us "two
       separate paper totals tape" from Tabulator ID 2.

       •     One dated "Poll Opened Nov. 03/2020 06:38:48" (Roll 1);

       •     Another dated "Poll Opened Nov. 06/2020 09:21:58" (Roll 2).

 2.    We were then told by Ms. Kosloski that on November 5, 2020, Ms. Kosloski
       was notified by Connie Wing of the County Clerk's Office and asked to bring the
       tabulator and ballots to the County Clerk's office for re-tabulation. They ran the
       ballots and printed "Roll 2". She noticed a difference in the votes and brought it
       up to the clerk, but canvasing still occurred, and her objections were not
       addressed.

 3.    Our team analyzed both rolls and compared the results. Roll 1 had 1,494 total
       votes a n d Roll 2 had 1,491 votes (Roll 2 had 3 less ballots because 3 ballots
       were damaged in the process.)

 4.    "Statement of Votes Cast from Antrim" shows that only 1,491 votes were
       counted, and the 3 ballots that were damaged were not entered into final results.



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 5.    Ms. Kosloski stated that she and her assistant manually refilled out the three
       ballots, curing them, and ran them through the ballot counting system - but the
       final numbers do not reflect the inclusion of those 3 damaged ballots.

 6.    This is the most preliminary report of serious election fraud indicators. In
       comparing the numbers on both rolls, we estimate 1,474 votes changed
       across the two rolls, between the first and the second time the exact same ballots
       were run through the County Clerk’s vote counting machine - which is almost the
       same number of voters that voted in total.

       •     742 votes were added to School Board Member for Central Lake
             Schools (3)

       •     657 votes were removed from School Board Member for Ellsworth
             Schools (2)

       •     7 votes were added to the total for State Proposal 20-1 (1) and out of
             those there were 611 votes moved between the Yes and No Categories.

 7.    There were incremental changes throughout the rolls with some significant
       adjustments between the 2 rolls that were reviewed. This demonstrates
       conclusively that votes can be and were changed during the second machine
       count after the software update. That should be impossible especially at such a
       high percentage to total votes cast.

 8.    For the School Board Member for Central Lake Schools (3) [Image 1] there
       were 742 votes added to this vote total. Since multiple people were elected, this
       did not change the result of both candidates being elected, but one does see a
       change in who had most votes. If it were a single-person election this would
       have changed the outcome and demonstrates conclusively that votes can be and
       were changed during the second machine counting. That should be impossible.

       [Image 1]:




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 9.    For the School Board Member for Ellsworth Schools (2) [Image 2]

       •     Shows 657 votes being removed from this election.

       •     In this case, only 3 people who were eligible to vote actually voted.
             Since there were 2 votes allowed for each voter to cast.

       •     The recount correctly shows 6 votes.

       But on election night, there was a major calculation issue:

       [Image 2]:




 10.   In State Proposal 20-1 (1), [Image 3] there is a major change in votes in this
       category.

       •     There were 774 votes for YES during the election, to 1,083 votes
             for YES on the recount a change of 309 votes.

       •     7 votes were added to the total for State Proposal 20-1 (1) out of
             those there were 611 votes moved between the Yes and No Categories.

       [Image 3]:




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  11.   State Proposal 20-1 (1) is a fairly technical and complicated proposed
        amendment to the Michigan Constitution to change the disposition and allowable
        uses of future revenue generated from oil and gas bonuses, rentals and royalties
        from       state-owned      land.     Information     about      the    proposal:
        https://crcmich.org/publications/statewide-ballot- proposal-20-1-michigan-natural-
        resources-trust-fund

  12.   A Proposed Initiated Ordinance to Authorize One (1) Marihuana (sic) Retailer
        Establishment Within the Village of Central Lake (1). [Image 4]

            •   On election night, it was a tie vote.

            •   Then, on the rerun of ballots 3 ballots were destroyed, but only one vote
                changed on the totals to allow the proposal to pass.

        When 3 ballots were not counted and programming change on the
        tabulator was installed the proposal passed with 1 vote being removed from
        the No vote.

        [Image 4]:




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  13.   On Sunday December 6, 2020, our forensics team visited the Antrim County
        Clerk. There were two USB memory sticks used, one contained the software
        package used to tabulate election results on November 3, 2020, and the other
        was programmed on November 6, 2020 with a different software package which
        yielded significantly different voting outcomes. The election data package is used
        by the Dominion Democracy Suite software & election management system
        software to upload programming information onto the Compact Flash Cards for
        the Dominion ImageCast Precinct to enable it to calculate ballot totals.

  14.   This software programming should be standard across all voting machines
        systems for the duration of the entire election if accurate tabulation is the
        expected outcome as required by US Election Law. This intentional difference in
        software programming is a design feature to alter election outcomes.

  15.   The election day outcomes were calculated using the original software
        programming on November 3, 2020. On November 5, 2020 the township clerk
        was asked to re-run the Central Lake Township ballots and was given no
        explanation for this unusual request. On November 6, 2020 the Antrim County
        Clerk, Sheryl Guy issued the second version of software to re-run the same
        Central Lake Township ballots and oversaw the process. This resulted in greater
        than a 60% change in voting results, inexplicably impacting every single election
        contest in a township with less than 1500 voters. These errors far exceed the
        ballot error rate standard of 1 in 250,000 ballots (.0008%) as required by federal
        election law.

        •   The original election programming files are last dated 09/25/2020 1:24pm

        •   The updated election data package files are last dated 10/22/2020 10:27 am.




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  16.   As the tabulator tape totals prove, there were large numbers of votes switched
        from the November 3, 2020 tape to the November 6, 2020 tape. This was solely
        based on using different software versions of the operating program to calculate
        votes, not tabulate votes. This is evidenced by using same the Dominion System
        with two different software program versions contained on the two different USB
        Memory Devices.

  17.   The Help America Vote Act, Safe Harbor provides a 90-day period prior to
        elections where no changes can be made to election systems. To make changes
        would require recertification of the entire system for use in the election. The
        Dominion User Guide prescribes the proper procedure to test machines with test
        ballots to compare the results to validate machine functionality to determine if the
        Dominion ImageCast Precinct was programmed correctly. If this occurred a
        ballot misconfiguration would have been identified. Once the software was
        updated to the 10/22/2020 software the test ballots should have been re-run to
        validate the vote totals to confirm the machine was configured correctly.

  18.   The November 6, 2020 note from The Office of the Secretary of State Jocelyn
        Benson states: "The correct results always were and continue to be reflected on
        the tabulator totals tape and on the ballots themselves. Even if the error in the
        reported unofficial results had not been quickly noticed, it would have been
        identified during the county canvass. Boards of County Canvassers, which are
        composed of 2 Democrats and 2 Republicans, review the printed totals tape from
        each tabulator during the canvass to verify the reported vote totals are correct."

           •   Source: https://www.michigan.gov/sos/0,4670,7-127-1640_9150-544676--
               ,00.html

  19.   The Secretary of State Jocelyn Benson's statement is false. Our findings show
        that the tabulator tape totals were significantly altered by utilization of two
        different program versions, and not just the Dominion Election Management
        System. This is the opposite of the claim that the Office of the Secretary of
        State made on its website. The fact that these significant errors were not caught
        in ballot testing and not caught by the local county clerk shows that there are
        major inherent built-in vulnerabilities and process flaws in the Dominion
        Election Management System, and that other townships/precincts and the
        entire election have been affected.

  20.   On Sunday December 6, 2020, our forensics team visited the Antrim County
        Clerk office to perform forensic duplication of the Antrim County Election
        Management Server running Dominion Democracy Suite 5.5.3-002.

  21.   Forensic copies of the Compact Flash cards used by the local precincts in their
        Dominion ImageCast Precinct were inspected, USB memory sticks used by
        the Dominion VAT (Voter Assist Terminals) and the USB memory sticks used
        for the Poll Book were forensically duplicated.



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  22.   We have been told that the ballot design and configuration for the Dominion
        ImageCast Precinct and VAT were provided by ElectionSource.com which is
        which is owned by MC&E, Inc of Grand Rapids, MI.

  E.    MANCELONA TOWNSHIP

  1.    In Mancelona township, problems with software versions were also known to
        have been present.         Mancelona elections officials understood that ballot
        processing issued were not accurate and used the second version of software to
        process votes on 4 November, again an election de-certifying event, as no
        changes to the election system are authorized by law in the 90 days preceding
        elections without re-certification.

  2.    Once the 10/22/2020 software update was performed on the Dominion
        ImageCast Precinct the test ballot process should have been performed to
        validate the programming. There is no indication that this procedure was
        performed.

  F.    ANTRIM COUNTY CLERK'S OFFICE

  1.    Pursuant to a court ordered inspection, we participated in an onsite collection
        effort at the Antrim County Clerk's office on December 6, 2020. [Image 5]:




        Among other items forensically collected, the Antrim County Election
        Management Server (EMS) with Democracy Suite was forensically collected.
        [Images 6 and 7].




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        The EMS (Election Management Server) was a:

              Dell Precision Tower 3420.

              Service Tag: 6NB0KH2

        The EMS contained 2 hard drives in a RAID-1 configuration. That is the 2 drives
        redundantly stored the same information and the server could continue to
        operate if either of the 2 hard drives failed. The EMS was booted via the Linux
        Boot USB memory sticks and both hard drives were forensically imaged.

        At the onset of the collection process we observed that the initial program thumb
        drive was not secured in the vault with the CF cards and other thumbdrives. We
        watched as the County employees, including Clerk Sheryl Guy searched
        throughout the office for the missing thumb drive. Eventually they found the
        missing thumb drive in an unsecured and unlocked desk drawer along with
        multiple other random thumb drives. This demonstrated a significant and fatal
        error in security and election integrity.

  G.    FORENSIC COLLECTION

        We used a built for purpose Linux Boot USB memory stick to boot the EMS in a
        forensically sound mode. We then used Ewfacquire to make a forensic image of
        the 2 independent internal hard drives.

        Ewfacquire created an E01 file format forensic image with built-in integrity
        verification via MD5 hash.

        We used Ewfverify to verify the forensic image acquired was a true and accurate
        copy of the original disk. That was done for both forensic images.

  H.    ANALYSIS TOOLS



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        X-Ways Forensics: We used X-Ways Forensics, a commercial Computer
        Forensic tool, to verify the image was useable and full disk encryption was not in
        use. In particular we confirmed that Bit locker was not in use on the EMS.

        Other tools used: PassMark – OSForensics, Truxton - Forensics, Cellebrite –
        Physical Analyzer, Blackbag-Blacklight Forensic Software, Microsoft SQL Server
        Management Studio, Virtual Box, and miscellaneous other tools and scripts.

  I.    SERVER OVERVIEW AND SUMMARY

  1.    Our initial audit on the computer running the Democracy Suite Software showed
        that standard computer security best practices were not applied. These
        minimum-security standards are outlined the 2002 HAVA, and FEC Voting
        System Standards – it did not even meet the minimum standards required of a
        government desktop computer.

  2.    The election data software package USB drives (November 2020 election, and
        November 2020 election updated) are secured with bitlocker encryption software,
        but they were not stored securely on-site. At the time of our forensic examination,
        the election data package files were already moved to an unsecure desktop
        computer and were residing on an unencrypted hard drive. This demonstrated a
        significant and fatal error in security and election integrity. Key Findings on
        Desktop and Server Configuration: - There were multiple Microsoft security
        updates as well as Microsoft SQL Server updates which should have been
        deployed, however there is no evidence that these security patches were ever
        installed. As described below, many of the software packages were out of date
        and vulnerable to various methods of attack.

        a)    Computer initial configuration on 10/03/2018 13:08:11:911

        b)    Computer final configuration of server software on 4/10/2019

        c)    Hard Drive not Encrypted at Rest

        d)    Microsoft SQL Server Database not protected with password.

        e)    Democracy Suite Admin Passwords are reused and share passwords.

        f)    Antivirus is 4.5 years outdated

        g)    Windows updates are 3.86 years out of date.

        h)    When computer was last configured on 04/10/2019 the windows updates
              were 2.11 years out of date.

        i)    User of computer uses a Super User Account.




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  3.    The hard drive was not encrypted at rest – which means that if hard drives are
        removed or initially booted off an external USB drive the files are susceptible to
        manipulation directly. An attacker is able to mount the hard drive because it is
        unencrypted, allowing for the manipulation and replacement of any file on the
        system.

  4.    The Microsoft SQL Server database files were not properly secured to allow
        modifications of the database files.

  5.    The Democracy Suite Software user account logins and passwords are stored in
        the unsecured database tables and the multiple Election System Administrator
        accounts share the same password, which means that there are no audit trails
        for vote changes, deletions, blank ballot voting, or batch vote alterations or
        adjudication.

  6.    Antivirus definition is 1666 days old on 12/11/2020. Antrim County updates its
        system with USB drives. USB drives are the most common vectors for injecting
        malware into computer systems. The failure to properly update the antivirus
        definition drastically increases the harm cause by malware from other machines
        being transmitted to the voting system.

  7.    Windows Server Update Services (WSUS) Offline Update is used to enable
        updates the computer – which is a package of files normally downloaded from
        the internet but compiled into a program to put on a USB drive to manually
        update server systems.

  8.    Failure to properly update the voting system demonstrates a significant and fatal
        error in security and election integrity.

  9.    There are 15 additional updates that should have been installed on the server to
        adhere to Microsoft Standards to fix known vulnerabilities. For the 4/10/2019
        install, the most updated version of the update files would have been 03/13/2019
        which is 11.6.1 which is 15 updates newer than 10.9.1

        This means the updates installed were 2 years, 1 month, 13 days behind
        the most current update at the time. This includes security updates and
        fixes. This demonstrated a significant and fatal error in security and
        election integrity.

        •     Wed 04/10/2019 10:34:33.14 - Info: Starting WSUS Offline Update (v.
              10.9.1)

        •     Wed     04/10/2019  10:34:33.14  -    Info: Used   path
              "D:\WSUSOFFLINE1091_2012R2_W10\cmd\" on EMSSERVER (user:
              EMSADMIN)

        •     Wed 04/10/2019 10:34:35.55 - Info: Medium build date: 03/10/2019



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        •     Found on c:\Windows\wsusofflineupdate.txt

        •     *WSUS Offline Update (v.10.9.1) was created on 01/29/2017

        *WSUS information found here https://download.wsusoffline.net/

  10.   Super User Administrator account is the primary account used to operate the
        Dominion Election Management System which is a major security risk. The
        user logged in has the ability to make major changes to the system and install
        software which means that there is no oversight to ensure appropriate
        management controls – i.e. anyone who has access to the shared administrator
        user names and passwords can make significant changes to the entire voting
        system. The shared usernames and passwords mean that these changes can
        be made in an anonymous fashion with no tracking or attribution.

  J.    ERROR RATES

  1.    We reviewed the Tabulation logs in their entirety for 11/6/2020. The election logs
        for Antrim County consist of 15,676 total lines or events.

        •     Of the 15,676 there were a total of 10,667 critical errors/warnings or a
              68.05% error rate.

        •     Most of the errors were related to configuration errors that could result in
              overall tabulation errors or adjudication. These 11/6/2020 tabulation totals
              were used as the official results.

  2.    For examples, there were 1,222 ballots reversed out of 1,491 total ballots cast,
        thus resulting in an 81.96% rejection rate. Some of which were reversed due to
        "Ballot's size exceeds maximum expected ballot size".

        •     According to the NCSL, Michigan requires testing by a federally accredited
              laboratory for voting systems. In section 4.1.1 of the Voluntary Voting
              Systems Guidelines (VVSG) Accuracy Requirements a. All systems shall
              achieve a report total error rate of no more than one in 125,000.

        •     https://www.eac.gov/sites/default/files/eac_assets/1/28/VVSG.1.1.V
              OL.1.FINAL1.pdf

        •     In section 4.1.3.2 Memory Stability of the VVSG it states that Memory
              devices used to retain election management data shall have
              demonstrated error free data retention for a period of 22 months.

        •     In section 4.1.6.1 Paper-based System Processing Requirements sub-
              section a. of the VVSG it states "The ability of the system to produce and
              receive electronic signals from the scanning of the ballot, perform logical
              and numerical operations upon these data, and reproduce the contents of
              memory when required shall be sufficiently free of error to enable


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              satisfaction of the system-level accuracy requirement indicated in
              Subsection 4.1.1."

        •     These are not human errors; this is definitively related to the software and
              software configurations resulting in error rates far beyond the thresholds
              listed in the guidelines.

  3.    A high "error rate" in the election software (in this case 68.05%) reflects an
        algorithm used that will weight one candidate greater than another (for instance,
        weight a specific candidate at a 2/3 to approximately 1/3 ratio). In the logs we
        identified that the RCV or Ranked Choice Voting Algorithm was enabled (see
        image below from the Dominion manual). This allows the user to apply a
        weighted numerical value to candidates and change the overall result. The
        declaration of winners can be done on a basis of points, not votes. [Image 8]:




  4.    The Dominion software configuration logs in the Divert Options, shows that all
        write-in ballots were flagged to be diverted automatically for adjudication. This
        means that all write-in ballots were sent for "adjudication" by a poll worker or
        election official to process the ballot based on voter "intent". Adjudication files
        allow a computer operator to decide to whom to award those votes (or to trash
        them).

  5.    In the logs all but two of the Override Options were enabled on these machines,
        thus allowing any operator to change those votes. [Image 9]:




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  6.    In the logs all but two of the Override Options were enabled on these machines,
        thus allowing any operator to change those votes. This gives the system
        operators carte blanche to adjudicate ballots, in this case 81.96% of the total cast
        ballots with no audit trail or oversight. [Image 10]:




  7.    On 12/8/2020 Microsoft issued 58 security patches across 10+ products, some of
        which were used for the election software machine, server and programs. Of the
        58 security fixes 22, were patches to remote code execution (RCE)
        vulnerabilities. [Image 11]:




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  8.    We reviewed the Election Management System logs (EmsLogger) in their
        entirety from 9/19/2020 through 11/21/2020 for the Project: Antrim November
        2020. There were configuration errors throughout the set-up, election and
        tabulation of results. The last error for Central Lake Township, Precinct 1
        occurred      on    11/21/2020    at     14:35:11       System.Xml.XmlException
        System.Xml.XmlException: The ' ' character, hexadecimal value 0x20, cannot be
        included in a name. Bottom line is that this is a calibration that rejects the vote
        (see picture below). [Image 12]:




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        Notably 42 minutes earlier on Nov 21 2020 at 13:53:09 a user attempted to
        zero out election results. Id:3168 EmsLogger - There is no permission to {0}
        - Project: User: Thread: 189. This is direct proof of an attempt to tamper
        with evidence.




  9.    The Election Event Designer Log shows that Dominion ImageCast Precinct
        Cards were programmed with updated new programming on 10/23/2020 and
        again after the election on 11/05/2020. As previously mentioned, this violates the
        HAVA safe harbor period.

        Source: C:\Program Files\Dominion Voting Systems\Election Event
        Designer\Log\Info.txt

        •   Dominion Imagecast Precinct Cards Programmed with 9/25/2020
            programming on 09/29/2020, 09/30/2020, and 10/12/2020.

        •   Dominion Imagecast Precinct Cards Programmed with New Ballot
            Programming dated 10/22/2020 on 10/23/2020 and after the election on
            11/05/2020

        Excerpt from 2020-11-05 showing “ProgramMemoryCard” commands.




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  10.   Analysis is ongoing and updated findings will be submitted as soon as possible.
        A summary of the information collected is provided below.

        10|12/07/20 18:52:30| Indexing completed at Mon Dec 7 18:52:30 2020
        12|12/07/20 18:52:30| INDEX SUMMARY
        12|12/07/20 18:52:30| Files indexed: 159312


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        12|12/07/20 18:52:30| Files skipped: 64799
        12|12/07/20 18:52:30| Files filtered: 0
        12|12/07/20 18:52:30| Emails indexed: 0
        12|12/07/20 18:52:30| Unique words found: 5325413
        12|12/07/20 18:52:30| Variant words found: 3597634
        12|12/07/20 18:52:30| Total words found: 239446085
        12|12/07/20 18:52:30| Avg. unique words per page: 33.43
        12|12/07/20 18:52:30| Avg. words per page: 1503
        12|12/07/20 18:52:30| Peak physical memory used: 2949 MB
        12|12/07/20 18:52:30| Peak virtual memory used: 8784 MB
        12|12/07/20 18:52:30| Errors: 10149
        12|12/07/20 18:52:30| Total bytes scanned/downloaded: 1919289906




  Dated: December 13, 2020
                                        _____________________________________
                                        Russell Ramsland




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